                    Case: 23-1667
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                                                    No. 23-1667

                       The Continental Insurance Company, et al   vs. Boy Scouts of America, et al.

                                                ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 The Continental Insurance Company and Columbia Casualty Company

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ✔ Appellant(s)
                                          ____                                 ____ Intervenor(s)

         ____ Respondent(s)               ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name David C. Christian II
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (1)
Additional E-Mail Address (2)
Additional E-Mail Address (3)

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ECF notices, that common email address MUST be one of the listed additional email addresses.
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SIGNATURE OF COUNSEL: /s/ Maria Aprile Sawczuk

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
